Case 25-30155 Document 80-9 Filed in TXSB on 05/14/25 Page 1 of 4
 Case25-30155
Case  25-30155 Document
                Document80-9
                         76 Filed
                             FiledininTXSB
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                                            on05/12/25
                                               05/14/25 Page
                                                         Page12ofof34




                                                                    EXHIBIT 8
 Case25-30155
Case  25-30155 Document
                Document80-9
                         76 Filed
                             FiledininTXSB
                                       TXSBon
                                            on05/12/25
                                               05/14/25 Page
                                                         Page23ofof34




                                                                    EXHIBIT 8
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Case  25-30155 Document
                Document80-9
                         76 Filed
                             FiledininTXSB
                                       TXSBon
                                            on05/12/25
                                               05/14/25 Page
                                                         Page34ofof34




                                                                    EXHIBIT 8
